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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


   UNITED STATES OF AMERICA                       )
                                                  )      3:20-CR-00086-TJC-JBT-8
         v.                                       )
                                                  )
   JORGE PEREZ, ET AL.                            )



          DEFENDANT NEISHA ZAFFUTO’S BRIEF IN SUPPORT OF
               MOTION FOR JUDGMENT OF ACQUITTAL

         Ms. NEISHA ZAFFUTO, pursuant to Fed. R. Crim. P. Rule 29 and this

   Court’s Order (ECF No. 800), respectfully submits this brief in support of her

   ore tenus motion for judgment of acquittal, which she made at the close of the

   Government’s case-in-chief (Min. Entry, ECF No. 733).

   I. Procedural History

         The jury trial in this case commenced on May 9, 2022. (Min. Entry, ECF

   No. 681.)

         At the close of the Government’s case-in-chief, Ms. Zaffuto made an ore

   tenus motion for judgment of acquittal, arguing, inter alia, that the

   Government presented insufficient evidence to prove venue for the

   substantive money laundering count (Count 23) against her. Trial Tr. Vol. XVI,

   81. This Court deferred it ruling on that motion until after the trial. Id. at 74.

         On June 27, 2022, this Court declared a mistrial regarding Ms. Zaffuto,

   based on the jury’s inability to reach a unanimous verdict on any of the counts


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   of the Superseding Indictment in which she is charged. (Min. Entry, ECF No.

   766.)

           On July 4, 2022, Ms. Zaffuto filed a Motion to Extend Time to Submit

   Brief in Support of Motion for Judgment of Acquittal (ECF No. 789). This

   Court granted that motion, allowing Ms. Zaffuto to submit this brief by July

   27, 2022. (Order, ECF No. 800.)

   II. Argument

      a. Legal Standard

           Fed. R. Crim. P. 29(c)(2) states that “[i]f the jury has returned a guilty

   verdict, the court may set aside the verdict and enter an acquittal. If the jury

   has failed to return a verdict, the court may enter a judgment of acquittal.” Id.

   A Court may grant a motion for judgment of acquittal even after a mistrial is

   declared. United States v. Ramirez, 2013 WL 944873 (M.D. Fla., Mar. 12, 2013),

   citing United States v. Martin Linen Supply Co., 430 U.S. 564, 575 (1977).

           A motion for judgment of acquittal pursuant to Fed. R. Crim. P. 29 “is a

   direct challenge to the sufficiency of the evidence presented against the

   defendant.” United States v. Aibejeris, 28 F.3d 97, 98 (11th Cir. 1994); see also

   United States v. Ward, 197 F.3d 1076, 1079 (11th Cir. 1999) (“[i]n considering a

   motion for the entry of judgment of acquittal under [Fed. R. Crim. P. 29(c)], a

   district court should apply the same standard used in reviewing the

   sufficiency of the evidence to sustain a conviction”). The sufficiency of the

   evidence standard governs a motion for judgment of acquittal whether the


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   jury has convicted the defendant or whether the court has declared a mistrial

   because the jury was unable to reach a verdict. United States v. Nimapoo, 2008

   WL 11384038 at *1 (N.D. Ga. Apr. 11, 2008).

         A defendant's motion for judgment of acquittal should be granted if the

   Court finds that “the evidence is insufficient to sustain a conviction.” Fed. R.

   Crim. P. 29(a). Thus, the Court “must determine whether a reasonable jury

   could have found the defendant guilty beyond a reasonable doubt.” United

   States v. Mercer, 541 F.3d 1070, 1074 (11th Cir. 2008), citing Ward, 197 F.3d at

   1079. In reviewing a sufficiency of the evidence challenge, the trial court must

   consider the evidence in the light most favorable to the Government, drawing

   in its favor all reasonable inferences and credibility choices. United States v.

   Davis, 586 F. App'x 534, 538 (11th Cir. 2014).

         This Court should acquit Ms. Zaffuto if it finds that “the jury could not

   have found [her] guilty under any reasonable construction of the evidence.”

   United States v. Robles, 283 F. App'x 726, 735 (11th Cir. 2008), quoting United

   States v. Chastain, 198 F.3d 1338, 1351 (11th Cir. 1999). See also Candler v. United

   States, 146 F.2d 424, 426 (5th Cir. 1944)(acquittal is warranted if “[t]he evidence

   is as consistent with innocence as with guilt”).

      b. The Government Failed to Prove Venue for Count 23.

         “It is by now well-settled that venue is an essential element of the

   government's proof at trial.” United States v. Snipes, 611 F.3d 855, 865 (11th Cir.

   2010). “[Q]uestions of venue . . . are not to be taken lightly or treated as mere


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   technicalities . . . .” Id., quoting United States v. White, 611 F.2d 531, 534 (5th Cir.

   1980). “The Constitution, the Sixth Amendment, and Rule 18 of the Federal

   Rules of Criminal Procedure guarantee defendants the right to be tried in the

   district in which the crime was committed.” United States v. Breitweiser, 357

   F.3d 1249, 1253 (11th Cir. 2004).

          18 U.S.C. § 1956(i) prescribes the venue requirements for money

   laundering offenses as follows:

              (1) Except as provided in paragraph (2), a prosecution for
              an offense under this section or section 1957 may be
              brought in--
                    (A) any district in which the financial or monetary
                    transaction is conducted; or
                    (B) any district where a prosecution for the
                    underlying specified unlawful activity could be
                    brought, if the defendant participated in the transfer
                    of the proceeds of the specified unlawful activity
                    from that district to the district where the financial or
                    monetary transaction is conducted.
   18 U.S.C. § 1956(i)(1).

          18 U.S.C. § 1956(c) defines the terms “conducts” and “transaction” as

   follows:

              (2) the term “conducts” includes initiating, concluding, or
              participating in initiating, or concluding a transaction;
              (3) the term “transaction” includes a purchase, sale, loan,
              pledge, gift, transfer, delivery, or other disposition, and with
              respect to a financial institution includes a deposit,
              withdrawal, transfer between accounts, exchange of currency,
              loan, extension of credit, purchase or sale of any stock, bond,
              certificate of deposit, or other monetary instrument, use of a
              safe deposit box, or any other payment, transfer, or delivery
              by, through, or to a financial institution, by whatever means
              effected;

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   18 U.S.C. § 1956(c)(2)-(c)(3).

         Ms. Zaffuto submits that an acquittal on Count 23 is warranted because

   the Government failed to prove venue in the Middle District of Florida under

   either 18 U.S.C. § 1956(i)(1)(A) or 18 U.S.C. § 1956(i)(1)(B).

             1. 18 U.S.C. § 1956(i)(1)(A)

         Count 23 charges Mr. Aaron Durall and Ms. Zaffuto with substantive

   money laundering based on the allegations that on December 7, 2017,

   $1,715,283 was transferred from “BB&T Bank account ending in 4396, in the

   name of Durall Capital Holdings LLC to JPMorgan Chase account ending in

   2011 in the name of KTL Labs, LLC.” Superseding Indict., ECF No. 180 at 28.

         At trial, Ms. Kimberly Henderson, an FBI financial analyst, testified that

   the money transfer at issue in Count 23 was conducted via a handwritten

   physical check, as opposed to a wire transfer. Trial Tr. Vol. XV, 294; Vol. XVI,

   23. The check was issued by Durall Capital Holdings LLC (the former name

   of DL Investment Holdings, LLC) and made payable to KTL Labs, LLC. Trial

   Tr. Vol. XV, 294-295. She also identified KTL Labs, LLC’s Chase bank account

   into which the money eventually went. Id.

         Mr. Kyle Marcotte, the sole member of KTL Labs, LLC, was a resident of

   Atlantic Beach, Florida, which is located in the Middle District of Florida.

   Superseding Indict., ECF No. 180, 4; Trial Tr. Vol. IX, 310. He testified at trial

   that KTL Labs, LLC’s primary place of business was in Jacksonville, Florida,

   which also is located in the Middle District of Florida. Trial Tr. Vol. IX, 310.


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   Although Mr. Marcotte testified about the money laundering conspiracy, he

   did not testify about any of the specifics of the transaction in Count 23. See

   generally, Trial Tr. Vol. IX, 271-323. Indeed, Mr. Marcotte pleaded guilty to a

   money laundering conspiracy by way of an information; he did not plead

   guilty to any substantive money laundering charge. Id., 283.

         The issuer of the check, Durall Capital Holdings, LLC, was owned and

   controlled by Mr. Durall. Superseding Indict., ECF No. 180 at 2. Mr. Durall is a

   resident of Parkland, Florida, which is located in the Southern District of

   Florida. Id. Durall Capital Holdings, LLC’s principal place of business is in

   Sunrise, Florida, which also is located in the Southern District of Florida.

         Considering the aforementioned limited information concerning the

   check, the issuer, and the recipient, Ms. Zaffuto submits that the Government

   failed to prove that venue for Count 23 was proper in the Middle District of

   Florida because it offered no evidence showing that “the financial or monetary

   transaction [was] conducted” in this district. 18 U.S.C. § 1956(i)(1)(A).

         In United States v. Cabrales, 118 S.Ct. 1772 (1998), the Supreme Court

   affirmed the dismissal of money laundering charges based on improper

   venue. The underlying illegal activity in that case, the sale of drugs, took place

   in Missouri. Id., 1774. However, the actual laundering of the sale's proceeds

   with which the defendant was charged, took place in Florida because the

   defendant deposited and withdrew money from a bank in Florida. Id. The

   Supreme Court held that venue was not proper in Missouri when the


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   transactions with which the defendant was charged began, continued, and

   were completed in Florida. Id., 1777. In so holding, the Court rejected the

   Government’s argument that venue is appropriate for money laundering

   absent evidence of transportation of funds. Id., 1776.

         Following Cabrales, supra, federal courts have vacated substantive

   money laundering convictions or dismissed those charges based on improper

   venue in multiple cases. See e.g., United States v. Stewart, 256 F.3d 231 (4th Cir.

   2001)(substantive money laundering convictions vacated because evidence

   was insufficient to establish venue for money laundering in Virginia where the

   defendant handled money only in California and was not responsible for or

   charged with the transportation of the money from Virginia to California);

   United States v. Osuji, 413 Fed. App’x. 603 (4th Cir. 2011)(district court's error

   in not instructing jury on venue was not harmless, where government showed

   that defendant handled money only in Texas, but did not prove that he

   transferred any funds into the district where the trial took place); United States

   v. King, 259 F. Supp. 3d 1267 (M.D. Okla. 2014)(granting motion to dismiss

   substantive money laundering counts for lack of venue).

         Similarly, in this case, the Government offered no evidence showing

   that the transaction was “conducted,” “initiated,” or “concluded” in the

   Middle District of Florida, as required by law. 18 U.S.C. § 1956(c)(2) & (i)(1).

   Neither Ms. Henderson nor Mr. Marcotte testified concerning who wrote the

   check, where the check was written, how the check was sent to KTL Labs,


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   LLC, or its representative, who received the check, who deposited the check,

   or where and through which bank branch the check was deposited into KTL

   Labs, LLC’s Chase account. See generally, Trial Tr. Vol. IX, 271-323; Vol. XV,

   223-333; Vol. XVI, 11-74. Simply put, the Government failed to produce any

   evidence regarding where the transaction in Count 23 was conducted or its

   connection to the Middle District of Florida.

         Both the issuer of the check, Durall Capital Holdings, LLC, and its

   owner, Mr. Durall, are located and reside, respectively, in the Southern District

   of Florida. The Government produced no evidence to show that the check was

   sent from—or written in—the Middle District of Florida. Furthermore, Mr.

   Marcotte was living at various, unknown times in Jacksonville, Florida;

   Manhattan, New York; and at an undetermined location in California during

   the pendency of the alleged conspiracies in this case. Trial Tr. Vol. IX, 271,

   276-279. Moreover, although the recipient of the funds, KTL Labs, LLC, has its

   principal place of business in the Middle District of Florida, that fact, alone,

   cannot satisfy the statutory venue requirement. 18 U.S.C. § 1956(i)(1)(A)

   prescribes venue in the district in which the financial transaction is conducted;

   it does not prescribe venue in any district in which an entity’s principal place

   of business is located—there is no equivalent of the “minimum contacts” test

   that is applicable in civil cases to criminal cases involving money laundering

   charges.




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         Ms. Henderson unequivocally admitted at trial that she did not know

   the aforementioned information that is necessary to establish venue for Count

   23. On cross examination, she testified regarding the transaction in Count 23

   as follows:

         Q.      So do you know how this particular check was
                 delivered to Mr. Marcotte?
         A.      No, I don’t.
         * * *
         Q.      And this is the deposit of that check into a bank
                 account—a JPMorgan Chase account, right?
         A.      Yes.
         Q.      Okay. We've already heard this, but do you know if
                 Mr. Marcotte was in New York in December of 2017?
         A.      I—off the top of my head, no, I don't remember.
         Q.      Do you know if he was in California?
         A.      No.
         Q.      Do you know if JPMorgan Chase has bank branches
                 in New York?
         A.      I am assuming they do. They're headquartered there.
         Q.      Do you know if JPMorgan has branches in
                 California?
         A.      I’m—they're a large bank. I assume they do, yes.
         Q.      And there's nothing on this document that says that
                 this check was deposited in Jacksonville, correct?
         A.      Not on this, no.

   Trial Tr. Vol. XVI, 23–24.

         Therefore, the evidence is insufficient to prove venue in the Middle

   District of Florida for Count 23.




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         This remains the situation regardless of whether KTL Labs, LLC,

   banked with a Chase branch in the Middle District of Florida. According to

   Chase policy, a physical check could be deposited at any bank branch, via an

   ATM, online, or through a mobile app. See Chase, How transactions post,

   available at https://www.chase.com/personal/checking/overdraft-services/

   how-transactions-post ; Chase, How to deposit a check online, available at

   https://www.chase.com/personal/banking/education/basics/how-to-

   deposit-a-check-online. Thus, the deposit of the check at issue, which falls

   within the definition of the term “transaction” pursuant to 18 U.S.C. § 1956(c)

   (3), could have occurred anywhere, regardless of the location of the Chase

   branch where the recipient’s account was opened. Considering Mr. Marcotte’s

   transitory habitation among Florida, New York, and California during the

   time relevant to this issue, the Government’s evidence was wholly insufficient

   to establish that the depositing of the check occurred in the Middle District of

   Florida.

              2. 18 U.S.C. § 1956(i)(1)(B)

         Ms. Zaffuto, pursuant to 18 U.S.C. § 1956(i)(1)(B), submits that the

   evidence in the Government’s case-in-chief is equally insufficient to establish

   venue in the Middle District of Florida on Count 23.

         18 U.S.C. § 1956(i)(1)(B) authorizes the Government to prosecute a

   money laundering offense in “any district where a prosecution for the

   underlying specified unlawful activity could be brought” only if “the


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   defendant participated in the transfer of the proceeds of the specified

   unlawful activity from that district to the district where the financial or

   monetary transaction is conducted . . . .” Id. As one district court reasoned,

         [t]he fair and logical upshot of this provision is that a substantive
         money laundering defendant exposes himself to prosecution in
         some far away district only if he creates a nexus with that district by
         “participat[ing] in the transfer of the” tainted proceeds out of that
         district. And it is important [] to bear in mind that the defendant's
         activities, if any, that created the taint in the first place must not
         be confused with—or equated with—defendant's participation in
         the transfer of the tainted funds [because] [t]he laundering and
         the underlying offense are separate offenses.

   United States v. King, 259 F. Supp. 3d 1267, 1283 (M.D. Ok. 2014) (emphasis

   added).

         Therefore, the proper venue, pursuant to 18 U.S.C. § 1956(i)(1)(B),

   depends on (1) whether the defendant participated in the transfer of the

   laundered proceeds from the sending district to the receiving district, and (2)

   whether the proceeds of specified unlawful activity were transferred from the

   venue district (the sending district) to the district where the laundering

   transaction was conducted (the receiving district).

         In this case, 18 U.S.C. § 1956(i)(1)(B) would authorize the Government

   to prosecute Ms. Zaffuto in the Middle District of Florida only if (1) she

   participated in the transfer of the laundered proceeds; and, (2) the tainted

   proceeds were transferred from the venue district (the Middle District of

   Florida) to the receiving district.




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         However, neither of those prerequisites is supported by the

   Government’s evidence in its case-in-chief at trial: neither Mr. Marcotte nor

   Ms. Henderson testified that Ms. Zaffuto participated in the writing, issuing,

   mailing, delivering, receiving or depositing of the check. Thus, the

   Government did not satisfy the statute’s “participation” requirement. This

   fact remains regardless of any argument that the Government may advance

   based on Ms. Zaffuto’s purported participation in the charged conspiracies or

   the uncharged, underlying health care fraud and wire fraud offenses because

   the substantive money laundering count is a separate and distinct offense, as a

   matter of law. See United States v. Nolan, 223 F.3d 1311, 1315 (11th Cir. 2000)

   (money laundering is an offense to be punished separately from the

   underlying criminal offense).

         The Government further failed to prove that the proceeds of specified

   unlawful activity were transferred from the district in which in which the

   Government alleges venue, the Middle District of Florida. Neither Mr.

   Marcotte nor Mr. Henderson testified concerning who wrote or initiated the

   check; where the check was written or initiated; or from where the check was

   sent, or by what means. Absent such evidence, it is impossible for the

   Government to meet the statutes “sending district” requirement. This fact

   remains, based on the reasons stated, even if, assuming arguendo, that a

   prosecution for the alleged underlying specified unlawful activity could have

   been brought in the Southern District of Florida.


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          Therefore, the Government has failed to prove that venue for Count 23

   is proper in the Middle District of Florida pursuant to 18 U.S.C. § 1956(i)(1)(B).

   III.   Conclusion

          Ms. Zaffuto, based on the foregoing assertions and argument, prays that

   this Court acquit her on Count 23 of the Superseding Indictment.

          Date: July 27, 2022

                                                Respectfully submitted,

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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


   UNITED STATES OF AMERICA                        )
                                                   )      3:20-CR-00086-TJC-JBT-8
         v.                                        )
                                                   )
   JORGE PEREZ, ET AL.                             )



                             CERTIFICATE OF SERVICE

         I hereby certify that on July 27, 2022, I electronically filed the

   foregoing DEFENDANT NEISHA ZAFFUTO’S BRIEF IN SUPPORT OF

   MOTION FOR JUDGMENT OF ACQUITTAL with the Clerk of the United

   States District Court for the Middle District of Florida by way of the CM/ECF

   system, which automatically will serve this document on the attorneys of

   record for the parties in this case by electronic mail.

         Date:         July 27, 2022

                                                 Respectfully submitted,

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